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Case 2:04-cr-20366-.]PI\/| Document 45 Filed 06/06/05 Page 1 of 2 Page|D 58

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VS. , _.: QC"ZW@§
. __ co re

ALAN BRA\/ERMAN_ -._ i‘f@CA-T-'T»F`
Det`endant. “*Y~,»_!`I`S. DISTRICT JUDGE
" M’-`@ aro-95
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MEMoRANDui\/t ns stn>noar THEREOF

 

Comcs now Defendant, Alan Bra\)erman1 by and through his attorney of record, .L
.Danie] Johnson, and moves the Court for an order to continue his sentencing currently set for
Tuesday, June 7, 2005, for approximately three weeks..

In support ot` his motion_, Defendant Braverrnan Wou|d show that his plea agreement calls
t`or him to make a make restitution in the approximate amount of approximately One Hundred
Sixty Eight Thousa.nd Dollars (5168,000.00)` Defendant is attempting to raise the money and
needs additional time to make arrangements

In further support of this motion. Def`endant Br'averman, by and through Attorney of
_Record, .L. Da.niel Johnson, has consulted with United States Assistant Attorney Carro|| Andre,

and Mr. Andre has no objection to a short continuance ot`the sentencing date

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 45 in
case 2:04-CR-20366 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

L. Daniel Johnson

JOHNSON COCKE & BRANDON
254 Court Ave.

Ste. 300

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

